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                                   Exhibit B

                      Schedule of ADR/ACR Eligible Claims
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                                                                          Ninety-Second Omnibus Objection
                                                                  Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   SOTO GONZALEZ, SONIA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       59936              $ 42,000.00
    13 URB. ALTAMIRA
    LARES, PR 00669

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   SOTO GONZALEZ, SONIA                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       62199              $ 42,000.00
    13 URB. ALTAMIRA
    LARES, PR 00669

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   SOTO RODRIGUEZ, IRIS E                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       67824              $ 5,000.00*
    BO SAN JOSE CARR 642
    HC 02 BOX 6059
    FLORIDA, PR 00650

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   SOTO, BEATRIZ VELEZ                                                                     6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       54937          Undetermined*
    PO BOX 512
    LARES, PR 00669

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   SUAREZ RIVERA, LYDIA E.                                                                 6/14/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       62179          Undetermined*
    URBANIZACION JACAGUAX C2 59
    JUANA DIAZ, PR 00795

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   TAPIA MELÉNDEZ, MAYRA E.                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       75135             $ 15,000.00*
    #64 BRISAS DEL NORTE
    MANATÍ, PR 00674

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   TIRADO GARCIA, ALEXIS                                                                   2/20/2019      17 BK 03283-LTS Commonwealth of Puerto Rico                    168157            Undetermined*
    PO BOX 976
    HATILLO, PR 00659

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
8    TORO PÉREZ, CARMEN E.                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       48067               $ 9,600.00
     110 ALAMO URBANIZACIÓN EL VALLE
     LAJAS, PR 00667

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    TORO RODRIGUEZ, IRMA J.                                                                 4/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       55103          Undetermined*
     APARTADO971
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   TORO RODRIGUEZ, RADAMÉS                                                                 6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       56682              $ 25,000.00
     207 CASTILLA URB SULTANA
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   TORO RODRIGUEZ, WANDA ENID                                                              6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       56949          Undetermined*
     APARTADO971
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   TORO SANTOS, JENNY                                                                      6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       47848          Undetermined*
     URB ALHAMBRA
     1817 CALLE ALCAZAR
     PONCE, PR 00716-3830

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   TORRES BARRETO, MAGALY                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       66157               $ 1,920.00
     HC-1 BOX 5571
     OROCOVIS, PR 00720

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   TORRES CINTRON, MANUEL                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the                62151              $ 75,000.00
     BOX 455                                                                                                                Government of the Commonwealth
     BARRANQQUITAS, PR 00974                                                                                                of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
15   TORRES COLON, NORMA I.                                                                  6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       77113              $ 3,000.00*
     HC-01 BOX 4028
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   TORRES GUILBE, DELVIS                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    108773               $ 15,000.00*
     BO. LA CUARTA
     173 CALLE PRINCIPAL
     MERCEDITA, PR 00715

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   TORRES GUZMAN, MARIA                                                                    6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       50236             $ 75,000.00*
     TORRES DE ANDALUCIA
     TORRES 1 APARTAMENTO202
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   TORRES GUZMAN, NILSA AMPARO                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       58518             $ 30,000.00*
     RR #16 BOX 3285
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
19   TORRES LABOY, MARIA L                                                                   6/20/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       50926          Undetermined*
     PO BOX 411
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   TORRES MUNOZ, DAISY E.                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    165210               $ 13,200.00*
     23 URB. LIRIOS DEL VALLE
     ANASCO, PR 00610

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
21   TORRES MUNOZ, DAISY E.                                                                   7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    161001               $ 15,600.00*
     23 URB LIRIOS DEL VALLE
     ANASCO, PR 00610

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
22   TORRES NEGRON, JOSE H.                                                                  6/19/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       48847          Undetermined*
     PO BOX 10011
     PAMPANOS STATION
     PONCE, PR 00732

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   TORRES NICOT, CRUCITA                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    167974            Undetermined*
     864 CORTADA URB. CONSTANCIA
     PONCE, PR 00717-2202

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   TORRES QUIRINDONG, MILDRED                                                              6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    167538            Undetermined*
     URB. ESTANCIAS DEL GOLF CLUB
     #394 CALLE ANGEL C. GARCIA
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   TORRES QUIRINDONGO, MILDRED                                                             6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       91025          Undetermined*
     #394 CALLE ANGEL C. GARCIA
     URB. ESTANCIAS DEL GOLF CLUB
     PONCE, PR 00730

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   TORRES QUIRINDONGO, MIVIAN                                                              6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       51791          Undetermined*
     URB LA ESTANCIA
     129 VIA PINTADA
     CAGUAS, PR 00727

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
27   TORRES RIVERA, HELEN                                                                     7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    167970            Undetermined*
     2DA EXT PUNTO ORO
     #6760 AVE. INTERIOR
     PONCE, PR 00728-2423

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   TORRES RIVERA, MARITZA I.                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the                60658          Undetermined*
     HC 02 BOX 8393                                                                                                         Government of the Commonwealth
     OROCOVIS, PR 00720                                                                                                     of Puerto Rico


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
29   TORRES RIVERA, MARITZA L.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       61760          Undetermined*
     HC 02 BOX 8393
     OROCOVIS, PR 00720

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   TORRES RODRIGUEZ, AMELIA                                                                6/22/2018      17 BK 03566-LTS Employees Retirement System of the                88725          Undetermined*
     URB. SANTA MARIA                                                                                                       Government of the Commonwealth
     CALLE HACIENDA LA GLORIA H-4                                                                                           of Puerto Rico
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
31   TORRES RODRIGUEZ, MARIA A                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       56212          Undetermined*
     HC 5 BOX 13893
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
32   TORRES SOTO, ELI ALBAET                                                                  7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    150552            Undetermined*
     HC 7 BOX 70544
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
33   TORRES SOTO, ELI ALBAET                                                                  7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    158237            Undetermined*
     HC 7 BOX 70544
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
34   TORRES SOTO, REINA M                                                                     7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       79475              $ 15,000.00
     HC 8 BOX 89229
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
35   TORRES VALDES, BARBARA                                                                  6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       50094             $ 30,000.00*
     RR 1 BOX 12022
     MANATÍ, PR 00674

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
36   TORRES VELAZQUEZ, ALBERT                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    134058               $ 23,700.00*
     URB. STA. ELENA III
     #110 CALLE SANTA LUCIA
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   TORRES VELAZQUEZ, HAYDEE                                                                 7/9/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    147811               $ 75,000.00*
     PO BOX 481
     SAN GERMAN, PR 00683

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   TORRES ZAYAS, NINA M.                                                                   6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       51082          Undetermined*
     A-8 A URB. LA ESPERANZA
     JUANA DIAZ, PR 00795-2611

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
39   TROCHE FIGUEROA, ENAIDA                                                                 6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    121954            Undetermined*
     URB LLANOS DEL SUR
     385 CALLE GARDENIA
     COTO LAUREL, PR 00780-2829

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
40   VALAZQUEZ LOPEZ, MARTHA MARIA                                                           6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       51947          Undetermined*
     1854 EXMORE AVE
     DELTONA, FL 32725

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
41   VALENCIA RIVERA, CARMEN JULIA                                                           6/29/2018      17 BK 03566-LTS Employees Retirement System of the             133507               $ 20,000.00*
     URB JARD SAN RAFAEL                                                                                                    Government of the Commonwealth
     106 CALLE SAN PABLO                                                                                                    of Puerto Rico
     ARECIBO, PR 00612

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
42   VALENTIN SANCHEZ, LUZ M                                                                 6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       99491          Undetermined*
     138 CALLE EXT. BETANCES
     VEGA BAJA, PR 00693

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
43   VALENTIN SANCHEZ, LUZ M                                                                 6/30/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       85289          Undetermined*
     138 CALLE EXT. BETANCES
     VEGA BAJA, PR 00693

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
44   VALENTIN, AMALIA GIBOYEAUX                                                              6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       41891          Undetermined*
     HC 80 BOX 8324
     DORADO, PR 00646

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
45   VARGAS LOPEZ, LUZ E.                                                                     7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    158358            Undetermined*
     PO BOX 2581 JUNCAL CONTRACT STATION
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
46   VARGAS LOPEZ, LUZ E.                                                                     7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    104371            Undetermined*
     PO BOX 2581 JUNCAL CONTRACT STATION
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
47   VARGAS MARTINEZ, MARIA A.                                                                7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    155487                $ 38,400.00
     P.O. BOX 794
     LAJAS, PR 00667

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
48   VARGAS NEGRÓN, MILAGROS                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    102322            Undetermined*
     PO BOX 82
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
49   VARGAS VELEZ, RUTH L.                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       67399          Undetermined*
     APARTADO419
     AIBONITO, PR 00705-0419

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
50   VAZQUEZ DANOIS, ELIZABETH                                                                7/3/2018      17 BK 03566-LTS Employees Retirement System of the             129215            Undetermined*
     LLENAR TODOS LOS ESPACIOS CORRESPONDIENTES                                                                             Government of the Commonwealth
     HC-01-2286                                                                                                             of Puerto Rico
     MAUNABO, PR 00707

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
51   VAZQUEZ DIAZ, LUZ A                                                                      7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    140272            Undetermined*
     HC 04 BOX 9340
     UTUADO, PR 00641

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
52   VAZQUEZ DIAZ, LUZ A.                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       98274          Undetermined*
     HC04 BOX 9340
     UTUADO, PR 00641

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
53   VAZQUEZ MALDONADO, IVETTE                                                               6/27/2018      17 BK 03566-LTS Employees Retirement System of the             104241               $ 36,000.00*
     #034 ALELI-URB MONTE ELENA                                                                                             Government of the Commonwealth
     DORADO, PR 00646                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 8 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
54   VAZQUEZ ROMERO, CARMEN L                                                                6/25/2018      17 BK 03566-LTS Employees Retirement System of the                89222          Undetermined*
     PO BOX 10974                                                                                                           Government of the Commonwealth
     JUANA DIAZ, PR 00795                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
55   VEGA TORRES, FELIX                                                                      6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       79095          Undetermined*
     HC-02 BOX 8094
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
56   VEGERANO DELGADO, AMANDA                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       90352              $ 12,000.00
     CALLE 19 N72
     RIO GRANDE ESTATES
     RIO GRANDE, PR 00745

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
57   VELAZQUEZ ARROYO, ANGELA LUISA                                                          6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       77388          Undetermined*
     #41 CALLE PILAR BO. SANTO DOMINGO HC-02 BOX 5846
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
58   VELAZQUEZ LOPEZ, MARTHA M.                                                              6/27/2018      17 BK 03566-LTS Employees Retirement System of the                51999          Undetermined*
     1854 EXMORE AVE                                                                                                        Government of the Commonwealth
     DELTONA, FL 32725                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
59   VELAZQUEZ NIEVES, PEDRO L.                                                              6/25/2018      17 BK 03566-LTS Employees Retirement System of the                46741             $ 10,200.00*
     HC 01 BUZON 10802                                                                                                      Government of the Commonwealth
     GUAYANILLA, PR 00656                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 9 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
60   VELAZQUEZ SANTIAGO, LYDIA E                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    138855            Undetermined*
     36 PAR HEVIA
     CIDRA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
61   VELEZ BRAVO, YVONNE M.                                                                   7/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    89012             Undetermined*
     4244 BENNINGTON STREET
     PHILADELPHIA, PA 19124

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
62   VELEZ ECHEVARRIA, ENEIDA                                                                6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    81756             Undetermined*
     566 PARCELAS JAUCA
     SANTA ISABEL, PR 00757

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
63   VELEZ IRIZARRY, MARIA INES                                                              6/29/2018      17 BK 03566-LTS Employees Retirement System of the             88482                $ 11,900.00*
     HC 07 BOX 2437                                                                                                         Government of the Commonwealth
     PONCE, PR 00731                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
64   VELEZ IRIZARRY, ZULMA                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the             77987                $ 19,300.00*
     URB SANTA TERESITA                                                                                                     Government of the Commonwealth
     3544 CALLE SANTA JUANITA                                                                                               of Puerto Rico
     PONCE, PR 00730-4612

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
65   VELEZ PADILLA, ELIZABETH                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    86352                $ 20,000.00*
     PO BOX 643
     MANATI, PR 00674

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 10 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
66   VELEZ PEREZ, RAMONA                                                                     6/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    75907             Undetermined*
     24 CALLE VILLA MADRID
     PONCE, PR 00731

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
67   VELEZ ROSAS, LOURDES I                                                                   7/6/2018      17 BK 03566-LTS Employees Retirement System of the             140625            Undetermined*
     HC 10 BOX 7361                                                                                                         Government of the Commonwealth
     SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
68   VELEZ-VELAZQUEZ, MARIA M.                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    45179             Undetermined*
     PO BOX 800561
     COTO LAUREL, PR 00780

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
69   VÉLEZ-VELÁZQUEZ, MARÍA M.                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56001             Undetermined*
     PO BOX 800561
     COTO LAUREL, PR 00780

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
70   VENEGAS ANDINO, CARMEN L                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    56828                 $ 11,400.00
     P O BOX 3103
     CAROLINA, PR 00984-3103

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
71   VENTURA, MARIBEL DEL CARMEN                                                             6/28/2018      17 BK 03566-LTS Employees Retirement System of the             50604                 $ 17,400.00
     8364 BALBINO TRINTA RIO CRISTAL                                                                                        Government of the Commonwealth
     MAYAGUEZ, PR 00680                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
72   VIALIZ ORTIZ, MILAGROS E                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    95994                 $ 40,000.00
     CALLE CASTILLA #273URB. SULTANA
     MAYAGUEZ, PR 00680

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 11 of 12
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                                                                           Ninety-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
73   VIDALES GALVAN, AUREA R                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    96714             Undetermined*
     URB. LAS ALONDRAS B63
     CALLE MARGINAL
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
74   VIDALES GALVAN, AUREA R.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    96121             Undetermined*
     URB LAS ALONDRAS B63
     CALLE MARGINAL
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
75   VILLA ARMENDARIZ, SANDRA C.                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    78110                $ 19,800.00*
     PO BOX 540
     MERCEDITA, PR 00715

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 767,420.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 12 of 12
